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B1 (Official Form 1) (04/13)
                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                         VOLUNTARY PETITION
                                    SOUTHERN DISTRICT OF NEW YORK
Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
MPM Silicones, LLC
All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
GE Silicones, LLC
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all): XX-XXXXXXX                                                       (if more than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
260 Hudson River Road
Waterford, NY                                                          ZIP CODE 12188                                                                              ZIP CODE

County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
Saratoga
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Debtor (if different from street
                                                                       ZIP CODE                                                                                    ZIP CODE
                                                                                                address):

Location of Principal Assets of Business Debtor (if different from street address above): See Attachment A                                                         ZIP CODE

                     Type of Debtor                                               Nature of Business                            Chapter of Bankruptcy Code Under Which
                 (Form of Organization)                       (Check one box.)                                                     the Petition is Filed (Check one box.)
                    (Check one box.)
       Individual (includes Joint Debtors)                           Health Care Business                                         Chapter 7                 Chapter 15 Petition for
       See Exhibit D on page 2 of this form.                         Single Asset Real Estate as defined in                       Chapter 9                 Recognition of a Foreign
       Corporation (includes LLC and LLP)                            11 U.S.C. § 101(51B)                                         Chapter 11                Main Proceeding
       Partnership                                                   Railroad                                                     Chapter 12                Chapter 15 Petition for
       Other (If debtor is not one of the above entities,            Stockbroker                                                  Chapter 13                Recognition of a Foreign
       check this box and state type of entity below.)               Community Broker                                                                       Nonmain Proceeding
                                                                     Clearing Bank
                                                                     Other
                Chapter 15 Debtors                                               Tax-Exempt Entity                                            Nature of Debts
Country of debtor’s center of main interests:                                 (Check box, if applicable)                                      (Check one box.)
                                                                                                                                Debts are primarily consumer             Debts are
Each country in which a foreign proceeding by,                       Debtor is a tax-exempt organization under title 26         debts, defined in 11 U.S.C.              primarily
regarding, or against debtor is pending:                             of the United States Code (the Internal Revenue            § 101(8) as “incurred by an              business
                                                                     Code).                                                     individual primarily for a               debts
                                                                                                                                personal, family, or
                                                                                                                                household purpose.”
                                Filing Fee (Check one box.)                                                                    Chapter 11 Debtors
                                                                                                Check one box:
       Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
       Filing Fee to be paid in installments (applicable to individuals only). Must attach
       signed application for the court’s consideration certifying that the debtor is unable    Check if:
       to pay fee except in installments. Rule 1006(b). See Official Form 3A.                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                      insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                   on 4/01/16 and every three years thereafter).
       attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------------------------------
                                                                                                Check all applicable boxes:
                                                                                                      A plan is being filed with this petition.
                                                                                                      Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                      of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
      distribution to unsecured creditors.
Estimated Number of Creditors*


1-49           50-99          100-199        200-999        1,000-          5,001-        10,001-             25,001-        50,001-           Over
                                                            5,000           10,000        25,000              50,000         100,000           100,000
Estimated Assets*


$0 to          $50,001 to     $100,001 to $500,001          $1,000,001      $10,000,001 $50,000,001           $100,000,001   $500,000,001      More than
$50,000        $1000,000      $500,000    to $1             to $10          to $50      to $100               to $500        to $1 billion     $1 billion
                                          million           million         million     million               million
Estimated Liabilities*


$0 to          $50,001 to     $100,001 to $500,001          $1,000,001      $10,000,001 $50,000,001           $100,000,001   $500,000,001      More than
$50,000        $1000,000      $500,000    to $1             to $10          to $50      to $100               to $500        to $1 billion     $1 billion
                                          million           million         million     million               million



* Information provided on a consolidated basis, and based on audited financial statements as of December 31, 2013.
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Voluntary Petition                                                                             Name of Debtor(s): MPM Silicones, LLC
(this page must be completed and filed in every case.)

                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                             Case Number:                            Date Filed:
Location Where Filed:                                                             Case Number:                            Date Filed:
                   Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor:                                                                   Case Number:                            Date Filed:
See Attachment A                                                                  Pending                                 Date Hereof
District:                                                                                      Relationship:                             Judge:
Southern District of New York                                                                  Affiliate                                 Pending


                                        Exhibit A                                                                                   Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                               I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                               or 13 of title 11, United States Code, and have explained the relief available
                                                                                               under each such chapter. I further certify that I have delivered to the debtor the
                                                                                               notice required by 11 U.S.C. § 342(b).

      Exhibit A is attached and made a part of this petition.                                  X
                                                                                                   Signature of Attorney for Debtor(s)                    (Date)


                                                                                    Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

        No.



                                                                                    Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

        Exhibit D, completed and signed by the debtor, is attached and made a part of this petition. If this is a joint petition:

If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                          Information Regarding the Debtor – Venue
                                                                                    (Check any applicable box.)
                      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                      preceding the date of this petition or for a longer part of such 180 days than in any other District.

                      There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
                      principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                      District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                               (Check all applicable boxes.)

                      Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

                      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire monetary
                      default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                      Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
                      petition.

                      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).


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B1 (Official Form 1) (04/13)                                                                                                                                               Page 3
Voluntary Petition                                                                            Name of Debtor(s): MPM Silicones, LLC
(This page must be completed and filed in every case.)
                                                                                    Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is
and correct.                                                                                  true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has chosen       proceeding, and that I am authorized to file this petition.
to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12 or 13 of
title 11, United States Code, understand the relief available under each such chapter,        (Check only one box.)
and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I           I request relief in accordance with chapter 15 of title 11, United States Code.
have obtained and read the notice required by 11 U.S.C. § 342(b).                                 Certified copies of the documents required by 11 U.S.C. § 1515 are attached

I request relief in accordance with the chapter of title 11, United States Code, specified        Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter
in this petition.                                                                                 of title 11 specified in this petition. A certified copy of the order granting
                                                                                                  recognition of the foreign main proceeding is attached
X                                                                                             X
    Signature of Debtor                                                                           (Signature of Foreign Representative)

X
    Signature of Joint Debtor                                                                     (Printed Name of Foreign Representative)

    Telephone Number (if not represented by attorney)
                                                                                                  Date
    Date
                                Signature of Attorney*                                                   Signature of Non-Attorney Bankruptcy Petition Preparer

X   /s/ Matthew A. Feldman                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
    Signature of Debtor                                                                       defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
    Matthew A. Feldman                                                                        have provided the debtor with a copy of this document and the notices and
    Printed Name of Attorney for Debtor(s)                                                    information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and,
    WILLKIE FARR & GALLAGHER LLP                                                              (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
    Firm Name                                                                                 setting a maximum fee for services chargeable by bankruptcy petition preparers,
                                                                                              I have given the debtor notice of the maximum amount before preparing any
                                                                                              document for filing for a debtor or accepting any fee from the debtor, as required
    787 Seventh Avenue, New York, NY 10019-6099                                               in that section. Official Form 19 is attached.
    Address
    (212) 728-8000
    Telephone Number                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
    April 13, 2014
    Date
                                                                                                     Social-Security number (If the bankruptcy petition preparer is not an
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                        individual, state the Social-Security number of the officer, principal,
certification that the attorney has no knowledge after an inquiry that the information in            responsible person or partner of the bankruptcy petition preparer.)
the schedules is incorrect.                                                                          (Required by 11 U.S.C. § 110.)
                   Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the debtor.
                                                                                                     Address
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
                                                                                              X
                                                                                                     Signature
X /s/ Douglas A. Johns
  Signature of Authorized Individual
                                                                                                     Date
    Douglas A. Johns
    Printed Name of Authorized Individual
                                                                                              Signature of bankruptcy petition preparer or officer, principal, responsible
    Executive Vice President, General Counsel, and Secretary
                                                                                              person, or partner whose Social-Security number is provided above.
    Title of Authorized Individual
                                                                                              Names and Social-Security numbers of all other individuals who prepared or
    April 13, 2014
                                                                                              assisted in preparing this document unless the bankruptcy petition preparer is not
    Date
                                                                                              an individual.

                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




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                      ATTACHMENT A TO VOLUNTARY PETITION

   1. Pending Bankruptcy Cases Filed by Affiliates of the Debtor

Concurrently herewith, each of the affiliated entities listed below, including the Debtor filing this
petition (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.

       Juniper Bond Holdings I LLC
       Juniper Bond Holdings II LLC
       Juniper Bond Holdings III LLC
       Juniper Bond Holdings IV LLC
       Momentive Performance Materials China SPV Inc.
       Momentive Performance Materials Holdings Inc.
       Momentive Performance Materials Inc.
       Momentive Performance Materials Quartz, Inc.
       Momentive Performance Materials South America Inc.
       Momentive Performance Materials USA Inc.
       Momentive Performance Materials Worldwide Inc.
       MPM Silicones, LLC

Contemporaneously with the filing of their voluntary petitions, the Debtors filed a motion
requesting that this Court consolidate their chapter 11 cases for procedural purposes only.

   2. Location of the Debtors’ Principal Assets (on a Consolidated Basis)


                                             Address
        260 Hudson River Rd.                       3500 S. State
        Waterford, NY 12188                        Route 2
                                                   Friendly, WV 26146
        20 Solar Dr.                               4901 Campbell Rd.
        Halfmoon, NY 12065                         Willoughby, OH 44094

        769 Old Saw Mill River Road                703 South Street
        Tarrytown, NY 10591                        New Smyrna Beach, FL 32168
        22557 West Lunn Rd.                        5700 Century Blvd.
        Strongsville, OH 44149                     Texas City, TX 77582
        611 O’Neill Dr. SE                         500 N. Taylor Rd.
        Hebron, OH 43025                           Garrett, IN 46738
        24400 Highland Rd.                         1950 Continental Boulevard
        Richmond Heights, OH 44143                 Charlotte, NC 28273
        420 N. Taylor Rd.                          2012 Zanker Rd.
        Garrett, IN 46738                          San Jose, CA 95131
        4045 Cheyenne Court                        340 O’Neil Dr.
        Chino, CA 91710                            Hebron, OH 43025
        9930 Kincey Ave.
        Huntersville, NC 28078
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                                SECRETARY’S CERTIFICATE

               I, Douglas A. Johns, the undersigned Secretary of each entity listed on Schedule I
hereto (each entity, a “Company” and together, the “Companies”) hereby certify that, on April
13, 2014, the following resolutions were duly adopted by the Board of Directors, Sole Member
or equivalent body, as the case may be, of each Company (collectively, the “Board”), and
recorded in the minute books of each Company, and that they have not been amended, modified
or rescinded and, accordingly, are in full force and effect as of the date hereof.

                WHEREAS, as a result of the financial condition of the Company, the Board has
engaged counsel and financial advisors to provide advice to the Company regarding its
obligations to its creditors, equity holders, employees and other interested parties;

                WHEREAS, the Board has reviewed and considered, among other things, the
advice of its counsel and financial advisors and has considered the options available to the
Company, and has determined that, in its judgment, it is advisable and in the best interests of the
Company, its creditors, equity holders, employees and other interested parties that the Company
voluntarily file a petition (the “Petition”) for relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”);

                 WHEREAS, after consultation with its counsel and financial advisors, the Board
believes that it is advisable and in the best interests of the Company to enter into and obtain loans
pursuant to, and consummate the transactions contemplated by, that certain (a) Senior Secured
Debtor-in-Possession and Exit Amended and Restated Asset-Based Revolving Credit Agreement
(the “DIP ABL Agreement”), to be entered into by and among Momentive Performance
Materials USA Inc., Momentive Performance Materials GmbH, Momentive Performance
Materials Quartz GmbH and Momentive Performance Materials Nova Scotia ULC, as borrowers,
Momentive Performance Materials Holdings Inc., Momentive Performance Materials Inc., the
lenders from time to time party thereto and JPMorgan Chase Bank, N.A. as administrative agent
and collateral agent, and (b) Senior Secured Debtor-in-Possession Term Loan Credit Agreement
(the “DIP Term Loan Agreement” and together with the DIP ABL Agreement, the “DIP Credit
Agreements”), to be entered into by and among Momentive Performance Materials USA Inc., the
lenders from time to time party thereto and JPMorgan Chase Bank, N.A. as administrative agent
and collateral agent, and the Board has determined, in its judgment, it is advisable and in the
interest of the Debtors to enter into the DIP Credit Agreements and undertake the actions
contemplated thereby; and

               WHEREAS, the Board has reviewed and considered a draft of that certain
Restructuring Support Agreement to be entered into by and among each Company and those
certain holders of 9.0%/9.5% Second-Priority Springing Lien Notes issued by Momentive
Performance Materials Inc. (the “Second Lien Noteholders”), which are party thereto (the
“Restructuring Support Agreement”), and the Board has determined, in its judgment, it is
advisable and in the interest of the Company to enter into the Restructuring Support Agreement
and undertake the actions contemplated thereby.

               NOW THEREFORE, it is hereby:
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                RESOLVED, that the filing by the Company of the Petition, in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), substantially
in the form previously presented to the Board is hereby approved, confirmed and adopted in all
respects; and it is further

                RESOLVED, that each of the officers of the Company, including any president,
vice president, chief executive officer, chief financial officer, treasurer or secretary (each of the
foregoing, individually, an “Authorized Officer” and, together, the “Authorized Officers”) be
and they hereby are authorized, empowered and directed to execute and file the Petition on
behalf of the Company in order to seek relief under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court; and it is further

                 RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name and on behalf of the Company, to execute and
file all petitions, schedules, motions, lists, applications, pleadings, declarations, affidavits and
other papers as required to accompany the Petition or seek entry of first day orders, and, in
connection therewith, to employ and retain assistance of legal counsel, accountants, financial
advisors and other professionals, and to take and perform any and all further acts and deeds that
they deem necessary, proper or desirable in connection with, or in furtherance of, the Petition or
the Company’s chapter 11 cases, with a view to the successful prosecution of such cases; and it
is further

               RESOLVED, that the Company is authorized to employ the law firm of Willkie
Farr & Gallagher LLP, located at 787 Seventh Avenue, New York, New York 10019, as
bankruptcy counsel to render legal services to, and to represent, the Company in its chapter 11
cases and in any and all related proceedings, subject to Bankruptcy Court approval; and it is
further

               RESOLVED, that the Company is authorized to employ AlixPartners, LLP,
located at 40 West 57th Street, New York, New York 10019, as restructuring advisors for the
Company in its chapter 11 cases, subject to Bankruptcy Court approval; and it is further

              RESOLVED, that the Company is authorized to employ Moelis & Company
LLC, located at 399 Park Avenue, New York, New York 10022, as investment banker for the
Company in its chapter 11 case, subject to Bankruptcy Court approval; and it is further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to retain on behalf of each Company such other
professionals as they deem necessary, appropriate or desirable, upon such terms and conditions
as they shall approve, to render services to each Company in connection with its chapter 11 case
and with respect to other related matters in connection therewith, subject to Bankruptcy Court
approval, if required; and it is further

                RESOLVED, that the form, terms and provisions of the DIP Credit Agreements
and the other loan documents, including, without limitation, any exhibits, appendices and
schedules thereto, all transactions contemplated thereby and all actions taken by the Authorized
Officer in connection therewith be, and hereby are, authorized, approved and ratified in all


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respects with such modifications, changes, additions and deletions thereto as may be approved or
deemed necessary, desirable or appropriate by an Authorized Officer executing the same, the
execution thereof by such Authorized Officer to be conclusive evidence of such approval,
necessity, desirability or appropriateness; and be it further

                RESOLVED, that the execution, delivery and performance by the Company of
the DIP Credit Agreements and the other loan documents, including the granting, ratification or
reaffirmation of any security interest, mortgage or lien, or the provision of any guarantee, as
applicable, in each case, as contemplated by or in connection with the DIP Credit Agreements
and the other loan documents be, and hereby are, expressly authorized, adopted, confirmed,
ratified and approved, and such approval is intended to and shall constitute all authorization and
approval required by the Board; and it is further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized to (i) execute, deliver and perform, or cause to be performed, in the name of and on
behalf of the Company, the DIP Credit Agreements and the other loan documents, and
(ii) execute and deliver, or otherwise cause the Company to execute and deliver, from time to
time various documents, agreements, instruments, questionnaires, papers or writings, as such
Authorized Officer determines are necessary or desirable to effect execution, delivery and
performance of the loan documents as intended by these resolutions, including but not limited to,
any UCC financing statements and other instruments, stock powers, bond powers, unit powers,
powers of attorney, side letters, notary letters, allonges, waivers, documents, certificates,
consents, assignments, notices, affidavits, certificates of officers (including secretary’s
certificates) and other certificates, control agreements, intellectual property grants, guarantees,
pledge agreements and other pledge documents, security agreements and other security
documents, ratification agreements and agreements contemplated thereby or executed and
delivered in connection therewith, in each case, with such changes, additions, modifications, and
terms as the Authorized Officers executing the loan documents or any other instrument,
document certificate, consent, assignment, notice and agreement shall approve, with such
Authorized Officer’s execution thereof to be deemed conclusive evidence of such approval; and
it is further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name of the Company, to cause the Company to
enter into, and to execute and deliver and take all actions necessary, proper or desirable to
consummate the transactions contemplated by the Restructuring Support Agreement, and to
effectuate the foregoing, to enter into all other documents, agreements, or instruments as may be
deemed necessary or appropriate by the Authorized Officers or otherwise described in or
contemplated by the Restructuring Support Agreement; and it is further

                RESOLVED, that each of the Authorized Officers is authorized to make,
execute, file and deliver any and all consents, certificates, documents, instruments, amendments,
papers or writings as may be required in connection with or in furtherance of the foregoing, and
to do any and all other acts necessary or desirable to effectuate the foregoing resolutions, the
execution and delivery thereof by such Authorized Officer(s) to be deemed conclusive evidence
of the approval by the Company of the terms, provisions and conditions thereof; and it is further


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               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file and/or record and perform such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or
regulatory authorities, certificates or other documents, and to take such other action, including,
without limitation, the payment of fees, costs and expenses (subject to Bankruptcy Court
approval where necessary or appropriate), as in the judgment of such Authorized Officer shall be
or become necessary, proper, and desirable to effectuate a successful reorganization of the
Company’s business or effectuate the transactions contemplated by the DIP Credit Agreements,
the Restructuring Support Agreement; and it is further

                 RESOLVED, that any and all past actions heretofore lawfully taken by any
officers, directors, members or any authorized persons acting under similar authority, as the case
may be, of the Company in the name and on behalf of the Company in furtherance of any or all
of the preceding resolutions are hereby ratified, confirmed, adopted and approved in all respects;
and it is further

                RESOLVED, that the Secretary of the Company is hereby authorized,
empowered and directed to certify that the foregoing resolutions of the Board were duly
consented to and adopted as of the date hereof, and that the Secretary of the Company is hereby
authorized and directed to insert, or cause to be inserted, this Secretary’s Certificate, or a copy
thereof, in the minutes of proceedings of the Board.

                                 [Signature appears on next page]




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IN WITNESS WHEREOF, the undersigned has executed this Secretary’s Certificate as of the
13th day of April, 2014.

                            By: /s/ Douglas A. Johns
                            Name: Douglas A. Johns
                            Title: Secretary




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                                      Schedule 1


Juniper Bond Holdings I LLC
Juniper Bond Holdings II LLC
Juniper Bond Holdings III LLC
Juniper Bond Holdings IV LLC
Momentive Performance Materials China SPV Inc.
Momentive Performance Materials Holdings Inc.
Momentive Performance Materials Inc.
Momentive Performance Materials Quartz, Inc.
Momentive Performance Materials South America Inc.
Momentive Performance Materials USA Inc.
Momentive Performance Materials Worldwide Inc.
MPM Silicones, LLC
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re                                                 :        Chapter 11
                                                      :
MPM Silicones, LLC,                                   :        Case No. 14-__________ ( )
                                                      :
                           Debtors.                   :
------------------------------------------------------x

                           CONSOLIDATED LIST OF CREDITORS
                       HOLDING THE 50 LARGEST UNSECURED CLAIMS

         Set forth below is the list of creditors that hold, based upon information presently
available and belief, the fifty largest unsecured claims against MPM Silicones, LLC and its
affiliates (collectively, the “Debtors”).1 This list has been prepared based upon the books and
records of the Debtors. The Top 50 List was prepared in accordance with Rule 1007(d) of the
Federal Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Top 50
List does not include: (1) persons who come within the definition of an “insider” as set forth in
11 U.S.C. § 101(31); or (2) secured creditors, unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the fifty (50) largest unsecured
claims. The information presented in the Top 50 List shall not constitute an admission by, nor is
it binding on, the Debtors. The information presented herein, including, without limitation, the
failure of the Debtors to list any claim, or the listing of any claim as unsecured, does not
constitute an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor does it constitute a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.


                                            [List appears on next page]




1
      The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors.
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                                                 Telephone number and            Nature of claim
                                                fax number of employees,           (trade debt,
         Name of creditor and                    agent or department of             bank loan,             Amount of
       complete mailing address,               creditor familiar with claim        government              claim as of
            including zip code                    who may be contacted            contract, etc.)        April 10, 20142
The Bank of New York Mellon Trust         Fax: 412-234-7535                   $1.16 Billion 9.0%      $1,160,687,000.003
Company, N.A.                                                                 Second-Priority
525 William Penn Place                                                        Springing Lien Notes
38th Floor                                                                    Due 2021
Pittsburgh, PA 15259
GE Capital Equity Investments, Inc.       Account Manager – Momentive         11% Senior Discount     $876,955,326.00
201 Merritt 7, 1st Floor                  Fax: 203-229-5097                   Note
P.O. Box 4800
Norwalk, CT 06856-4259

The Bank of New York Mellon               Fax: 412-234-7535                   $500 Million 11.5%      $381,869,000.00
525 William Penn Place                                                        Senior Subordinated
38th Floor                                                                    Notes Due 2016
Pittsburgh, PA 15259
The Bank of New York Mellon Trust         Fax: 412-234-7535                   €150 Million 9.5%       $182,945,280.004
Company, N.A.                                                                 Second-Priority
525 William Penn Place                                                        Springing Lien Notes
38th Floor                                                                    Due 2021
Pittsburgh, PA 15259
Odyssey Logistics & Technology Corp.      Tel.: 704-529-6300                  Trade Debt              $3,685,324.77
39 Old Ridgebury Rd                       Fax: 704-973-0987
Danbury, CT 06810
Globe Metalurgical Inc.                   Tel.: 800-845-6238                  Trade Debt              $3,642,356.24
Country Road 32                           Fax: 740-984-8691
Beverly, OH 45715

Mitsubishi Gas Chemical America Inc.      Tel.: 212-687-9030                  Trade Debt              $3,338,333.85
655 3rd Ave, 24th Floor                   Fax: 212-687-2810
New York, NY 10017
Amerada Hess Inc.                         Tel.: 315-234-5300                  Trade Debt              $2,500,510.35
126 N. Salina Street                      Fax: 315-423-0964
Syracuse, NY 13202
Fischback USA Inc.                        Tel.: 270-769-9333                  Trade Debt              $2,428,175.76
900 Peterson Drive                        Fax: 270-505-1256
Elizabethtown, KY 42701
Unimin Corp                               Tel.: 203-966-8880                  Trade Debt              $2,248,247.21
258 Elm St.                               Fax: 203-972-1870
New Canaan, CT 06840
Auramet Trading LC                        Tel.: 201-905-5000                  Trade Debt              $1,936,507.58
2 Executive Drive, Suite 645              Fax: 201-905-5001
Fort Lee, NJ 07024



2
         These claim amounts represent maximum potential liabilities. Actual amounts owed, if any, may be
         significantly lower.
3
         This amount represents the entire amount due and outstanding under these secured obligations. The
         Debtors believe that such obligations are substantially undersecured, and will therefore give rise to a
         significant unsecured deficiency claim against the Debtors. For the purposes of this creditor list, the
         Debtors have not attempted to calculate the amount of such deficiency claim.
4
         This amount represents the entire amount due and outstanding under these secured obligations. The
         Debtors believe that such obligations are substantially undersecured, and will therefore give rise to a
         significant unsecured deficiency claim against the Debtors. For the purposes of this creditor list, the
         Debtors have not attempted to calculate the amount of such deficiency claim.



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                                                  Telephone number and            Nature of claim
                                                 fax number of employees,           (trade debt,
        Name of creditor and                      agent or department of             bank loan,            Amount of
      complete mailing address,                 creditor familiar with claim        government             claim as of
         including zip code                        who may be contacted            contract, etc.)       April 10, 20142
Mauser USA LLC                            Tel.: 740-397-1762                   Trade Debt             $1,423,139.87
219 Commercial Drive                      Fax: 740-397-0302
Mount Vernon, OH 43050

Sea Lion Technology Inc.                  Tel.: 409-948-4351                   Trade Debt             $1,181,360.86
5700 Century Blvd.                        Fax: 281-337-7758
Texas City, TX 77592
Kao Specialties Americas LLC              Tel.: 336-307-0112                   Trade Debt             $1,020,997.43
1620 Belmar St.                           Fax: 336-884-1069
High Point, NC 27261
Ungerer & Co.                             Tel.: 610-882-3869                   Trade Debt             $835,200.00
110 N. Commerce Way                       Fax: 610-868-0530
Bridgeville, PA 15017
General Electric                          Tel.: 203-749-6000                   Trade Debt             $817,059.44
10 Riverview Drive                        Fax: 203-567-8486
Danbury, CT 06810
Zhejiang Huanxin Fluoro Material Co.      Tel.: 86-579-7271585                 Trade Debt             $789,033.60
Lt.                                       Fax: 5797271599
No. 1007 Jiu Ling Xi Road
Yongkang 130
321300
China
Nippon Kasei Chemicals Co. Ltd.           Tel.: 81 355405981                   Trade Debt             $762,285.00
188 Shinkawa Chuo-Ku                      Fax: 355405898
Tokyo 1040033
Japan
Schuetz Container Systems Inc.            Tel.: 908-526-6161                   Trade Debt             $609,732.20
200 Aspen Hill Rd.                        Fax: 908-526-5621
North Branch, NJ 08876
QSIP Canada ULC                           Tel.: 819-294-6000                   Trade Debt             $538,822.19
6500 Yvon Trudeau                         Fax: 819-294-9001
Becancour, QC G9h 2V8
Canada
Unipex Solutions Canada                   Tel.: 450-449-6363                   Trade Debt             $410,046.55
1570 Ampere Ste 106                       Fax: 450-449-5281
Boucherville, QC J4B 7L4
Canada
McJunkin Corporation                      Tel.: 732-225-4005                   Trade Debt             $408,414.90
12 Parkway Place                          Fax: 732-220-1453
Edison, NJ 08837
The B&B Albany Pallet Co. Inc.            Tel.: 315-492-1786                   Trade Debt             $346,622.18
Drawer T Solvay Road                      Fax: 315-469-4946
Jamesville, NY 13078
Occidental Chemicals Corporation          Tel.: 800-752-5151                   Trade Debt             $343,988.95
5005 LBJ Freeway                          Fax: 713-985-1491
Dallas, TX 75380
Packaging Corporation of America          Tel.: 336-434-0600                   Trade Debt             $328,964.01
212 Roelee St.                            Fax: 336-861-5601
Trinity, NC 27370
American Chemistry Council                Tel.: 703-741-5000                   Trade Debt             $317,356.00
1300 Wilson Blvd.                         Fax: 703-741-6050
Arlington, VA 22209
Imerys Ceramics                           Tel.: 770-594-0660                   Trade Debt             $316,453.70
100 Mansell Court East Ste 300            Fax: 770-645-3631
Roswell, GA 30076
Applied Ceramics Inc.                     Tel.: 770-448-6888                   Trade Debt             $306,362.78
5555 Pleasantdale Rd.                     Fax: 770-368-8261
Doraville , GA 30340




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                                              Telephone number and            Nature of claim
                                             fax number of employees,           (trade debt,
          Name of creditor and                agent or department of             bank loan,            Amount of
       complete mailing address,            creditor familiar with claim        government             claim as of
            including zip code                 who may be contacted            contract, etc.)       April 10, 20142
RA Mueller, Inc.                      Tel.: 513-247-5336                   Trade Debt             $302,316.65
11270 Cornell Park Dr.                Fax: 713-996-6261
Cincinnati, OH 45242
Bearing Distributors, Inc. (BDI)      Tel.: 216-642-9100                   Trade Debt             $302,149.77
8000 Hub Parkway                      Fax: 216-642-9573
Cleveland, OH 44125
Addivant USA LLC                      Tel.: 203-573-2759                   Trade Debt             $296,805.30
P.O. Box 8600                         Fax: 317-667-1672
Philadelphia, PA 19178-6702
Xinyaqiang Silicon Chemistry          Tel.: 86-527-882621...               Trade Debt             $296,509.56
No.3 Jingwu Rd. Industrial Park       Fax: 86-527-88262155
Suqian City 100
223809
China
Calumet Penreco LLC                   Tel.: 877-269-4711                   Trade Debt             $295,977.91
2780 Waterfront Pkwy E. Dr.           Fax: 724-756-1050
Indianapolis, IN 46214
Specialty Minerals Inc.               Tel.: 800-225-1156                   Trade Debt             $290,288.64
640 North 13th Street                 Fax: 413-743-4527
Easton, PA 18042
Zircoa Inc.                           Tel.: 440-349-7224                   Trade Debt             $285,735.98
31501 Solon Rd.                       Fax: 440-248-8864
Solon, OH 44139
Praxair Inc.                          Tel.: 203-837-2000                   Trade Debt             $263,346.01
39 Old Ridgebury Rd.                  Fax: 203-837-2511
Danbury, CT 06810-5113
Transpek Industry Ltd.                Tel.: +91-265-233-5444               Trade Debt             $260,864.50
6th Flr, Marble Arch                  Fax: +91-265-233-5758
Race CourseCircle
Vadodara - 390 007
Gujarat-India
Univar USA Inc.                       Tel.: 845-889-3621                   Trade Debt             $258,409.26
17425 NE Union Hill Rd.               Fax: 845-828-8515
Redmond, WA 98052
BASF Corp.                            Tel.: 800-443-6460                   Trade Debt             $255,236.76
100 Campus Dr.                        Fax: 800-634-9105
Florham Park, NJ 07932
SCM Metal Products Inc.               Tel.: 919-287-9874                   Trade Debt             $249,594.13
2601 Weck Dr.                         Fax: 919-544-0917
Durham, NC 27709
PSC                                   Tel.: 716-282-0514                   Trade Debt             $243,950.66
33 South Hyde Park Blvd.              Fax: 716-282-0592
Niagara Falls, NY 14303
OCI Melamine Americas Inc.            Tel.: 800-615-8284                   Trade Debt             $243,664.22
1209 Orange St.                       Fax: 225-685-3003
Wilmington, DE 19801
Allegheny Power                       Tel.: 304-480-1271                   Trade Debt             $235,411.85
P.O. Box 2809                         Fax: 304-480-1254
Hagerstown, MD 21741-2809
Galata Chemicals, LLC                 Tel: 800-428-7947                    Trade Debt             $232,389.30
471 Highway 3142                      Fax: 877-721-9672
Hahnville, LA 70057
Airgas Inc.                           Tel: 800-682-3872                    Trade Debt             $225,684.68
611 Scott St.                         Fax: 724-379-7220
Donora, PA 15033
DXP Enterprises Inc.                  Tel: 713-996-4700                    Trade Debt             $223,247.05
7272 Pinemont Rd.                     Fax: 713-939-7257
Houston, TX 77040




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                                             Telephone number and            Nature of claim
                                            fax number of employees,           (trade debt,
          Name of creditor and               agent or department of             bank loan,            Amount of
       complete mailing address,           creditor familiar with claim        government             claim as of
           including zip code                 who may be contacted            contract, etc.)       April 10, 20142
CEVA Logistics U.S., Inc.             Tel: 904-928-1433                   Trade Debt             $222,567.05
10751 Deerwood Park Blvd.             Fax: 904-680-1538
Suite 200
Jacksonville, FL 32256
Albea Americas Inc.                   Tel: 773-399-3262                   Trade Debt             $222,046.32
191 Rte. 31 N.                        Fax: 908-689-4767
Washington, NJ 07882
Take Care Health Systems              Tel: 615-665-7525                   Trade Debt             $221,644.64
205 Miller Springs Ct.                Fax: 615-468-3208
Franklin, TN 37064
Greif Inc.                            Tel: 800-338-3786                   Trade Debt             $201,714.36
695 Louis Dr.                         Fax: 215-956-2416
Warminster, PA 18974




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re                                                 :   Chapter 11
                                                      :
MPM Silicones, LLC,                                   :   Case No. 14-__________ ( )
                                                      :
                           Debtor.                    :
------------------------------------------------------x

                       DECLARATION UNDER PENALTY OF PERJURY

         I, the undersigned authorized officer of MPM Silicones, LLC, the debtor in this case (the
“Debtor”), declare under penalty of perjury that I have read the foregoing consolidated list of the
fifty largest unsecured creditors of the Debtor and its affiliated debtors, on a consolidated basis,
and that it is true and correct to the best of my information and belief.



Dated: April 13, 2014

                                                  /s/ Douglas A. Johns
                                                  Douglas A. Johns
                                                  Authorized Signatory
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re                                                 :   Chapter 11
                                                      :
MPM Silicones, LLC,                                   :   Case No. 14-__________ ( )
                                                      :
                           Debtor.                    :
------------------------------------------------------x

                    LIST OF EQUITY HOLDERS AND CORPORATE
                  OWNERSHIP STATEMENT OF MPM SILICONES, LLC,
                PURSUANT TO BANKRUPTCY RULES 1007(a)(3) AND 7007.1

       MPM Silicones, LLC is a wholly-owned subsidiary of Momentive Performance Materials
USA Inc., which is a wholly-owned subsidiary of Momentive Performance Materials Inc., which
is a wholly-owned subsidiary of Momentive Performance Materials Holdings Inc., which is a
wholly-owned subsidiary of MPM TopCo LLC, which is a wholly-owned subsidiary of
Momentive Performance Materials Holdings LLC.

      The following corporate entities own 10% or more of Momentive Performance Materials
Holdings LLC’s equity interests:

                               Shareholder                         Percentage of Total Shares
                         1
         Apollo Funds                                                       90.4%
         9 West 57th Street
         New York, NY 10019




1
      Represents Apollo Investment Fund VI, L.P., AP Momentive Holdings LLC, AIF Hexion Holdings, L.P., and
      AIF Hexion Holdings, II, L.P.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re                                                  :   Chapter 11
                                                       :
MPM Silicones, LLC,                                    :   Case No. 14-__________ ( )
                                                       :
                Debtor.                                :
------------------------------------------------------x

                  DECLARATION UNDER PENALTY OF PERJURY

      I, the undersigned authorized officer of MPM Silicones, LLC, the debtor in this
case (the “Debtor”), declare under penalty of perjury that I have read the foregoing list
of equity security holders and corporate ownership statement of the Debtor and that it is
true and correct to the best of my information and belief.



Dated: April 13, 2014

                                           /s/ Douglas A. Johns
                                           Douglas A. Johns
                                           Authorized Signatory
